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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

United States of America,

                   Plaintiff,                 Case No. 21-cr-20207
                                              Honorable Robert H. Cleland
vs.

David Dequantae-Raysheon Mickens,

                   Defendant.


                   Stipulated Preliminary Order of Forfeiture


      Plaintiff, by and through its undersigned attorneys, together with Defendant

David Dequantae-Raysheon Mickens (“Defendant”), and by and through his

attorney, Mark A. Satawa, Esq., submit this Stipulated Preliminary Order of

Forfeiture for immediate entry, and stipulate and agree to the following.

      The defendant’s counsel affirms that he has discussed this Stipulated Order

with defendant and that defendant consents to the entry of the Stipulated

Preliminary Order of Forfeiture.

      Based upon the defendant’s guilty plea to Count One of the Indictment, a

violation of 18 U.S.C. § 922(g)(1), this Stipulation, and other information in the

record, and pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), IT IS

HEREBY ORDERED, ADJUDGED AND DECREED THAT:
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      1.     The defendant shall forfeit to the United States all right, title and

interest he may possess in all firearms and ammunition involved in or used in the

commission of his offense including, but not limited to, the following (hereinafter

referred to as the “Subject Property”), as property involved in his violation of 18

U.S.C. § 922(g)(1):

           • Taurus PT111 G2 Pistol CAL:9 SN:TJX11057; and

           • 9 Rounds Browning Ammo Ammunition CAL:9

      2.     The Subject Property IS HEREBY FORFEITED to the United

States under 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c) for disposition according

to law, and any right, title and interest of the defendant, and any right, title and

interest that his heirs, successors or assigns have, or may have, in the Subject

Property is HEREBY AND FOREVER EXTINGUISHED.

      3.     The Subject Property was involved in the defendant’s violation of 18

U.S.C. § 922(g)(1) and is therefore subject to forfeiture under 18 U.S.C. § 924(d)

together with 28 U.S.C. § 2461(c), and the requisite nexus exists between the

Subject Property and the offense of conviction.

      4.     In entering into this Stipulated Preliminary Order of Forfeiture, the

defendant waives his right to have a jury determine the forfeitability of his interest

in the Subject Property as provided by Fed. R. Crim. P. 32.2(b)(5). The defendant

knowingly, voluntarily and intelligently waives any challenge to the above


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described forfeiture based upon the Excessive Fines Clause of the Eighth

Amendment to the United States Constitution.

      5.     Pursuant to Fed. R. Crim.P. 32.2(b)(4)(A), this Stipulated Preliminary

Order of Forfeiture shall become final and effective as to the defendant at the time

it is entered by the Court but remains preliminary as to third parties until the

ancillary proceedings, if any, are concluded under Rule 32.2(c).

      6.     The forfeiture of the Subject Property shall be made part of the

defendant’s sentence and included in his Judgment.

      7.     Upon entry of this Order, the United States, its designee, the Bureau

of Alcohol, Tobacco, Firearms and Explosives, and the U.S. Marshalls Service are

authorized, pursuant to Fed. R. Crim. P. 32.2(b)(2) and (3), to seize any property

identified above which is not currently in its custody or control, to conduct any

discovery that the Court considers proper to help identify, locate, or dispose of any

property seized, and the United States is authorized to begin proceedings consistent

with applicable statutory requirements pertaining to ancillary hearings and the

rights of any third parties.

      8.     Pursuant to 21 U.S.C. § 853(n), Fed. R. Crim. P. 32.2, and other

applicable rules, the United States shall publish notice of this Stipulated

Preliminary Order of Forfeiture and of its intent to dispose of the Subject Property

on www.forfeiture.gov, for at least thirty consecutive days. The United States may


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also, to the extent practicable, provide direct written notice to any person or entity

known to have an alleged interest in the Subject Property. The aforementioned

notice shall direct that any person, other than the defendant, asserting a legal

interest in the Subject Property must file a petition with the Court within thirty (30)

days of the final date of publication of notice or within thirty (30) days of receipt

of actual notice, whichever is earlier. The petition shall be for a hearing before the

Court alone, without a jury and in accordance with 21 U.S.C. § 853(n), to

adjudicate the validity of the petitioner's alleged interest in the Subject Property.

Any petition filed by a third party asserting an interest in the Subject Property must

be signed by the petitioner under penalty of perjury and must set forth the nature

and extent of the petitioner's alleged right, title or interest in the Subject Property,

the time and circumstances of the petitioner’s acquisition of the right, title, or

interest in the Subject Property, any additional facts supporting the petitioner's

claim, and the relief sought.

      9.     After the disposition of any motion filed under Fed. R. Crim. P.

32.2(c)(1)(A) and before a hearing on any ancillary petition, the United States may

conduct discovery in accordance with the Federal Rules of Civil Procedure upon a

showing that such discovery is necessary or desirable to resolve factual issues in

the ancillary proceeding.




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      10.        If no third party files a timely petition before the expiration of the

period provided in 21 U.S.C. § 853(n)(2), then this Stipulated Preliminary Order of

Forfeiture shall become the Final Order of Forfeiture and the United States shall

have clear title to the Subject Property as provided in 21 U.S.C. § 853(n)(7) and

Fed. R. Crim. P. 32.2(c)(2); further, the United States shall be authorized to

dispose of the Subject Property as prescribed by law.

      11.    If a third party files a petition for ancillary hearing for the Subject

Property, the Court shall enter an Amended and/or Final Order of Forfeiture that

addresses the disposition of the third party petition as provided under Fed. R. Crim.

P. 32.2(c)(2).



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      12.    The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2.

Approved as to form and substance:

Dawn N. Ison
United States Attorney

S/ Cassandra M. Resposo                       S/Mark A. Satawa (with consent)
Cassandra M. Resposo (IL 6302830)             Mark A. Satawa
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                                              mark@satawalaw.com

Dated: May 19, 2022                           Dated: May 19, 2022

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IT IS SO ORDERED.

Dated: May 24, 2022                    _s/Robert H. Cleland
                                       Honorable Robert H. Cleland
                                       United States District Court Judge




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